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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA                                                      PLAINTIFF

vs.                                  NO. 4:98CR00091-016 SWW

DERRICK SHERROD GALVIN                                                        DEFENDANT


                                              ORDER

       The above entitled cause came on for hearing on government’s petition to revoke the

supervised release [doc #1907] previously granted this defendant in the United States District

Court for the Eastern District of Arkansas. Based upon the admissions of defendant, the Court

found that defendant has violated the conditions of his supervised release without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the government’s petition to

revoke the supervised release previously granted this defendant be granted and it is hereby,

revoked.

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of

TWELVE (12) MONTHS imprisonment in the custody of the Bureau of Prisons to be served

consecutively to the sentence imposed November 7, 2014 in case number4:12CR00184 SWW. The

Court recommends that defendant be incarcerated at Texarkana, Texas so that he can continue his

education in drafting as he has already received a welding certificate from Texas A&M and so that

he can be close to his family; and that defendant participate in residential substance abuse treatment

(RDAP program) or non-residential substance abuse treatment, mental health counseling and

educational/vocational programs during incarceration.

       There will be THREE (3) YEARS of supervised release following the term of
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incarceration to be served concurrently with the supervised release imposed in case number

4:12CR00184 SWW. Defendant shall follow the following conditions of supervised release in

addition to all mandatory conditions of supervised release.

1. Defendant shall contact the U. S. Probation office in the district to which defendant was released
within 72 hours of release from the custody of the Bureau of Prisons and comply with all mandatory
and standard conditions that apply.

2. Defendant shall participate, under the guidance and supervision of the U. S. Probation Officer,
in a substance abuse treatment program which may include testing, out-patient counseling, and/or
residential treatment. Further, defendant shall abstain from the use of alcohol throughout the course
of any treatment.

3. Defendant shall participate in mental health counseling under the guidance and supervision of
the U.S. Probation Office.


        The defendant is eligible to self-report to the designated facility to begin the service of the

sentence imposed by 2:00 p.m. on January 6, 2014.

       IT IS SO ORDERED this 12th day of November 2013.

                                                       /s/Susan Webber Wright

                                                       United States District Judge
